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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

 NEONODE SMARTPHONE LLC,

                                            Plaintiff,
                                                           Civil Action No. 6:20-cv-00505-ADA
                           v.

 APPLE INC.,                                               JURY TRIAL DEMANDED

                                         Defendants.



         APPLE INC.’S OPPOSED MOTION TO STAY PENDING TRANSFER

        Defendant Apple Inc. (“Defendant”) respectfully moves for a stay pending decision on

the motion to transfer (Dkt. No. 27). A stay will promote judicial economy, allowing the Court

to decide all issues of transfer before spending resources on proceedings that may have to be

redone in the Northern District of California.           And Plaintiff Neonode Smartphone LLC

(“Neonode”) will suffer no prejudice as it waited years to file this lawsuit. With the Markman

hearing over five months away, and appellate guidance regarding measures that parties should

take to prioritize transfer, this case should be stayed.

I.      BACKGROUND

        Neonode filed this patent infringement lawsuit on June 8, 2020, alleging Apple infringes two

patents-in-suit. Compl., Dkt. No. 1, ¶¶ 2-3. Neonode alleges that Apple makes, uses, sells and/or offers

for sale certain versions of the iPhone, iPad, and Apple Watch which support certain allegedly infringing

features. Id. at ¶¶ 38, 43, 49, 55, 70, 77, and 93. Specifically, Neonode alleges that the Apple Control

Bar and Swipe to Open features, as well as Apple and third party swipe keyboard applications (e.g.,

Quickpath, Gboard, and Swype) infringe the patents. Id.




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        Apple answered Neonode’s Complaint on September 4, 2020. Dkt. 14. The parties filed their

notice of readiness on October 23, 2020 and Court conducted the Case Management Conference on

October 23, 2020. Dkt. 21, 22. At that time, the Court set the Markman hearing in this case for April 8,

2021, over five months away. Dkt. 23. The parties have not yet entered a proposed schedule in this case,

and the deadline to do so is not until November 6, 2020. The parties have not conducted any discovery,

nor exchanged any terms for construction.

II.     THE CASE SHOULD BE STAYED PENDING A DECISION ON TRANSFER

        A.      The Court Has Inherent Authority to Stay this Case

        “The power to stay proceedings is incidental to the power inherent in every court to control the

disposition of the causes on its docket with economy of time and effort for itself, for counsel and for

litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936).

        The Federal Circuit, Fifth Circuit and District Courts have recognized the importance of staying

cases during the pendency of transfer motions as a means of upholding 28 U.S.C. § 1404(a)’s intent to

“prevent the waste ‘of time, energy, and money’ and protect litigants, witnesses and the public against

unnecessary inconvenience and expense…” In re Google Inc., 2015 WL 5294800 at *1-2 (Fed. Cir.

2015) (nonprecedential) (granting mandamus and directing district court to rule on defendant’s motion to

transfer within 30 days and to stay all proceedings pending completion of transfer matter); see also In re

Nintendo Co., 544 F. App’x 934, 941 (Fed. Cir. 2013) (nonprecedential) (noting “a trial court must first

address whether it is a proper and convenient venue before addressing any substantive portion of this

case”); see also Enplanar, Inc. v. Marsh, 11 F.3d 1284, 1291 (5th Cir. 1994) (holding a stay of “merits-

related discovery [was appropriate] pending ruling on a motion for change of venue.”); DSS Tech., Mgmt.

Inc., v. Apple Inc., No. 6:13-cv-919, Dkt. No. 83 (E.D. Tex. Oct. 28, 2014); see also Klein v. Silversea

Cruises, Ltd., No. 3:14-cv-2699-G-BN, 2014 WL 7174299 (N.D. Tex. Dec. 16, 2014) (granting

motion to stay pending resolution of defendant’s motion to transfer venue).




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        Indeed, the Federal Circuit and Fifth Circuit have instructed District Courts and the

parties to prioritize transfer motions before other substantive issues. See In re Horseshoe Entm’t,

337 F.3d 429, 433 (5th Cir. 2003) (“[I]n our view disposition of that [transfer] motion should

have taken a top priority in the handling of this case by the … District Court.”); In re Apple

Inc., 456 F.App’x 907, 908 (Fed. Cir. 2012) (holding Apple should have employed a “strategy

to pressure the district court to act” to have the motion for transfer handled at the outset of

litigation); In re VTech Commc’ns, Inc., Misc. No. 909, 2020 WL 46332, at *1 (Fed. Cir. Jan.

6, 2010) (faulting VTech for not “actively and promptly” pursuing its motion to transfer before

the District Court invested time on discovery and claim construction). In In re Fusion-IO, the

Federal Circuit explained that in the context of a venue transfer motion, it “fully expect[ed]” the

moving defendant to file “a motion to stay proceedings pending disposition of the transfer

motion” and the district court “to act on those motions before proceeding to any motion on the

merits of the action.” 489 F. App’x 465, 466 (Fed. Cir. 2012) (nonprecedential).

        B.       All Relevant Factors Favor a Stay Pending a Decision on Transfer

        In this District, courts typically consider three factors in determining whether a stay is warranted:

(1) any potential prejudice to the non-moving party; (2) the hardship and inequity to the moving party if

the action is not stayed; and (3) the judicial resources saved by avoiding duplicative litigation. YETI

Coolers, LLC v. Home Depot U.S.A., Inc., 2018 WL 2122868, at *1 (W.D. Tex. Jan. 8, 2018). Here, all

three factors favor a stay.

                 1.       Factor One: A Stay Will Not Prejudice Neonode

        Plaintiff Neonode will not suffer any prejudice if the case is stayed. First, Defendant is

seeking a stay of a limited duration, only until the Court rules on the motion to transfer. Neonode

cannot claim prejudice, as it waited six years to file suit on the ’879 patent and nearly three years

to file suit on the ’993 patent. See NFC Tech. LLC v. HTC Am., Inc., 2015 WL 1069111, at *2


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(E.D. Tex. Mar. 11, 2015) (explaining inherent delay associated with a stay, standing alone, does

not establish undue prejudice); see also Klein, Civ. No. 3:14-cv-2699-G-BN, Dkt. 25 at 3 (citing

Enplanar, 11 F.3d at 1291) (explaining plaintiff could not show it would be prejudiced by a

limited stay pending resolution of a motion to transfer because there was little risk of loss of

documents or unavailability of witnesses).        Second, a patentee that can “be adequately

compensated through a damages remedy” cannot show undue prejudice from a stay. See NFC

Tech., 2015 WL 1069111, at *5 (citing VirtualAgility Inc. v. Salesforce.com, Inc., 759 F.3d 1307,

1318 (Fed. Cir. 2014)). And prejudgment interest can be awarded to compensate for any delay

in the payment of alleged damages. See Raytheon Co. v. Samsung Elecs. Co., 2016 WL

11639659, at *1 (E.D. Tex. Feb. 22, 2016).

               2.      Factor Two: Defendant will Suffer Hardship Absent a Stay

       Moving forward now with invalidity contentions and claim construction in this case risks

a waste of judicial and party resources that the Federal Circuit warned against in In re Google.

In re Google Inc., 2015 WL 5294800 at *1-2. Indeed, if this case is transferred to N.D. Cal., that

court has its own local rules and Markman procedures that differ from those employed by this

Court. In addition, the transferee court may wish to conduct its own analysis and hearing, thus

causing additional burden and expense. Conversely, staying the case would eliminate any risk

of undue hardship.

               3.      Factor Three: A Stay Will Conserve Judicial Resources

       A stay pending a decision on the motions to transfer will conserve judicial resources as

it eliminates the risk that Markman proceedings will be conducted twice in two different courts

with different governing local rules. A stay also will alleviate the burden on this Court to decide

transfer issues in the time available before the scheduled Markman hearing.



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III.    CONCLUSION

       Allowing this case to proceed through substantive proceedings such as invalidity

contentions and claim construction before ruling on Apple’s motion to transfer would be contrary

to the Federal Circuit and Fifth Circuit’s guidance to prioritize motion to transfer. Conversely,

entering a stay will conserve judicial resources and permit the Court more time to evaluate and

decide Defendant’s motion. Therefore, this case should be stayed so transfer can be decided

before other substantive issues are addressed.




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 Date: November 5, 2020                           Respectfully submitted,
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on November 5, 2020 to all counsel of record who are deemed to have

consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(b)(1).



                                           /s/ Betty H. Chen
                                           Betty H. Chen



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